
AIyHEJN, J.,
delivered the opinion of the Court.
The Court is of opinion, that if the plaintiff in error was entitled to any relief on account of the matters averred in his plea, such relief could only be afforded in a Court of equity, where upon a rescission of the contract the defendant in error could be reinvested with the interest alleged to have been sold to the plaintiff in error: It was, therefore, not competent to set up such matter in defence to the action at law brought to recover the purchase money agreed to be paid on such a contract touching the realty, by a plea under the statute in the nature of a plea of set-off; and the rejection of the plea does not preclude the party from applying to a Court of equity for such relief as he may shew himself entitled to on account of the matters alleged in the plea. It therefore seems to the Court here, that there is no error in the judgment of the Circuit court rejecting the plea. It is therefore considered that the same be affirmed, with costs.
